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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff

 v.                                                        Case No. 3:23-CR-00014-DJH

 BRYAN DOUGLAS CONLEY,

                               Defendant.

______________________________________________________________________________

                                    ORDER
______________________________________________________________________________

       This matter is before the Court on Defendant Bryan Douglas Conley’s Motion in Limine

to Exclude Evidence Related to Econo Lodge Theft. [R. 29.] The Court being sufficiently

advised,

       IT IS HEREBY ORDERED as follows:

       1.     Defendant Conley’s Motion in Limine to Exclude Evidence Related to Econo

Lodge Theft [R. 29] is GRANTED; and

       2.     Any and all evidence related to the alleged theft of a television from the Econo

Lodge in Cave City, Kentucky is hereby excluded from a trial in this matter.

       This the ____ day of ____________, 20___.
